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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

Vv

Case Number: 6:24-cr-201-GAP-UAM

" HASHEM YOUNIS HASHEM HNAIHEN USM Number: 29753-511

Joshua Roy Lukman, FPD
201 S Orange Ave., Ste 300
Orlando, FL 32801-3417

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts One, Two, Three, Four, and Five of the Indictment. The defendant is adjudicated

guilty of these offenses:

Title & Section

18 U.S.C. § 844(e)
18 U.S.C. § 844(e)
18 U.S.C. § 844(e)
18 U.S.C. § 844(e)
18 U.S.C. § 1366(a)

Date Offense Count
Nature of Offense Concluded Number
Threatened Use of an Explosive June 25, 2024 One
Threatened Use of an Explosive June 25, 2024 Two
Threatened Use of an Explosive June 25, 2024 Three
Threatened Use of an Explosive June 29, 2024 Four
Destruction of an Energy Facility June 29, 2024 Five

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the

Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material
change in the defendant's economic circumstances.

Date of Imposition of Sentence:

May 1, 2025

ELL
S DISTRICT JUDGE

May ( , 2025

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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of 72 months. This term consists of a term of 72 months as to Counts One, Two, Three, Four and Five, all such
terms to run concurrently.

The Court recommends to the Bureau of Prisons that the defendant be incarcerated in the Dallas, Texas area to
be near family if appropriate and available.

The defendant is remanded to the custody of the United States Marshal.

RETURN
| have executed this judgment as follows:
The defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

Deputy U.S. Marshal

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SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of 3 years. This term consists of a
3-year term as to Counts One, Two, Three, Four and Five, all such terms to run concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

The mandatory drug testing requirements of the Violent Crime Control Act are waived. However, the Court
orders the defendant to submit to random drug testing not to exceed 104 tests per year.

4. You must cooperate in the collection of DNA as directed by the probation officer.

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The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

The defendant shall also comply with the additional conditions as follows.

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STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum tools needed by probation officers to keep informed, report to the court about, and bring about
improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72
hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
office or within a different time frame. After initially reporting to the probation office, the defendant will receive
instructions from the court or the probation officer about how and when the defendant must report to the probation
officer, and the defendant must report to the probation officer as instructed.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer
about how and when you must report to the probation officer, and you must report to the probation officer as
instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
permission from the court or the probation officer.

4, You must answer truthfully the questions asked by your probation officer

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about

your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer

excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
unless the probation officer excuses you from doing so. If you plan to change where you work or anything about
your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer atleast 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know
someone has been convicted of a felony, you must not knowingly communicate or interact with that person without
first getting the permission of the probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72
hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon

(i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source
or informant without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation

officer may require you to notify the person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A.U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature: Date:

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ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. The defendant shall be prohibited from having contact, direct or indirect, with victims identified in Counts One
through Five (Starbucks, McDonald’s and Florida Power and Light (FPL).

2. If you are deported, you shall not re-enter the United States without the express permission of the appropriate

governmental authority.

CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.

tg gs : AVAA JVTA
Assessment Restitution Fine Assessment! Assessment?
$500.00, due * : Not applicable Not applicable
TOTALS immediately Deferred. Not imposed

*The determination of restitution is deferred. Pursuant to 18 U.S.C. § 3664(d)(5), a hearing will be scheduled under
separate notice for the final determination of restitution of victim losses. An Amended Judgment in a Criminal Case
(AO 245C) will be entered after such determination.

SCHEDULE OF PAYMENTS

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, are made to the Clerk, U.S. District Court, unless otherwise directed by the court, the probation officer, or the
United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
AVAA assessment (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and
(10) costs, including cost of prosecution and court costs.

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

1 Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
2 Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

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